    Case 18-06044-LT11       Filed 08/16/19   Entered 08/16/19 14:32:38   Doc 361    Pg. 1 of 2


                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
                                         Minute Order
Hearing Information:
         ADV: 19-90088                                                                               0
         BANKRUPTCY ESTATE OF JESSE WAYNE DAWBER VS STFU GLOBAL PTE LTD . & FACTION,
         INC. & DREW MADACSI & JESLYN LEONG & MATT ROBERTS
               Debtor: JESSE WAYNE DAWBER
         Case Number: 18-06044-LT11       Chapter: 11
   Date / Time / Room:   FRIDAY, AUGUST 16, 2019 11:00 AM DEPARTMENT 3
    Bankruptcy Judge:    LAURA S. TAYLOR
     Courtroom Clerk:    SHAWNA ZUCCONI
      Reporter / ECR:    LORI GALINDO
Matter:
         EMERGENCY MOTION ON SHORTENED NOTICE FOR TURNOVER OF PROPERY OF THE ESTATE ;
         TEMPORARY RESTRAINING ORDER; AND HEARING ON ISSUANCE OF INJUNCTION FILED ON
         BEHALF OF BANKRUPTCY ESTATE OF JESSE WAYNE DAWBER BY AND THROUGH DAVID K .
         GOTTLIEB IN HIS CAPACITY AS CHAPTER 11 TRUSTEE



Appearances:
       BETH ANN R. YOUNG, PROPOSED COUNSEL FOR CHAPTER 11 TRUSTEE DAVID K. GOTTLIEB
       RON BENDER, PROPOSED COUNSEL FOR CHAPTER 11 TRUSTEE DAVID K. GOTTLIEB
       DAVID K. GOTTLIEB, CHAPTER 11 TRUSTEE PRESENT
       ARAM ORDUBEGIAN, ATTORNEY FOR JESSE WAYNE DAWBER
       JESSE AND SARA DAWBER PRESENT
       JESSE FINLAYSON, CHAPTER 11 EXAMINER
       DAVID ORTIZ, ATTORNEY FOR THE U.S. TRUSTEE
       DON VAUGHN, ATTORNEY FOR JACK SCHINDLER
       EVAN TOPOL, ATTORNEY FOR JACK SCHINDLER
       MICHAEL BRESLAUER, ATTORNEY FOR CLASS WAR, INC.
       JEREMY ROSENTHAL, CEO OF CLASS WAR, INC. PRESENT (telephonically)
       JONATHAN SHENSON, ATTORNEY FOR STFU GLOBAL PTE LTD
       TODD CURRY, ATTORNEY FOR FACTION, INC.




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                            UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
                                          Minute Order
(continue)..18-06044-LT11        FRIDAY, AUGUST 16, 2019 11:00 AM
Disposition:                                                                              0

       The Court issues a Temporary Restraining Order as set forth on the record. Order to be
       submitted by Mr. Bender.

       Preliminary Injunction hearing scheduled for 8/30/19 at 10:00 a.m. Responses due by 5:00
       p.m. on 8/23/19. Replies due by 5:00 p.m. on 8/28/19. Parties to meet and confer regarding
       Preliminary Injunction hearing regarding how the hearing should be conducted. If parties
       cannot agree, they may submit an order and the Court may schedule a telephonic hearing as
       set forth on the record.

       The status conferences in the main bk cases 18-06044-LT Dawber and 19-00293-LT Class War,
       Inc. is continued from 8/22/19 at 11:00 a.m. to 9/11/19 at 2:00 p.m.

       Examiner's final report is due by 8/31/19 as set forth on the record.




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